        Case 1:23-cv-01198-CJN Document 23-8 Filed 08/28/23 Page 1 of 8




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 HERITAGE FOUNDATION &
 MIKE HOWELL,

        Plaintiff,
                                                        Case No. 23-cv-1198 (CJN)
  v.

 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY,

        Defendant.


                     DECLARATION OF CATRINA PAVLIK-KEENAN


       I, Catrina M. Pavlik-Keenan, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

1. I am the Deputy Chief Freedom of Information Act (“FOIA”) Officer for the Department of

   Homeland Security Privacy Office (“DHS PRIV”). I have held this position since July 4,

   2021. Prior to holding this position, I was the U.S. Immigration and Customs Enforcement

   (“ICE”) FOIA Officer from December 18, 2006 until July 3, 2021. Prior to holding that

   position, I worked for approximately four years in the FOIA office at the Transportation

   Security Administration - first as a Supervisory FOIA Analyst, then as Deputy Director for

   two years, and finally as Director. Prior to holding that position, I worked approximately nine

   years as a FOIA Analyst at the Department of Transportation, holding positions at Federal

   Highway Administration, Office of Pipeline Safety, and Office of the Secretary from 1993 to

   2002. In total, I have approximately 30 years of experience processing FOIA requests. I am

   the DHS official responsible for implementing FOIA policy across DHS and responding to

   requests for records under FOIA, 5 U.S.C. § 552, the Privacy Act, 5 U.S.C. § 552a, and other

   applicable records access provisions.
        Case 1:23-cv-01198-CJN Document 23-8 Filed 08/28/23 Page 2 of 8




2. As the Deputy Chief FOIA Officer for the DHS PRIV, I act as the Department of Homeland

   Security's principal point of contact and agency representative on FOIA-related matters for

   DHS Headquarters and all of the DHS components. My official duties and responsibilities

   include the implementation of consistent FOIA management across DHS in collaboration

   with DHS Components. In accordance with this responsibility, I maintain expert knowledge

   of the DHS FOIA regulations and routinely provide regulatory and policy guidance, technical

   advice, and assistance across the Department on all FOIA-related matters.

3. I make this declaration in support of DHS’s Motion for Summary Judgment. The statements

   contained in this declaration are based upon my personal knowledge, my review of the

   documents kept by the DHS PRIV in the ordinary course of business, and information

   provided to me by other DHS PRIV employees in the course of my official duties.

4. Section 5.1(c) of DHS’s FOIA regulations provides that “DHS has a decentralized system for

   processing FOIA requests, with each component handling requests for its records.” 6 C.F.R.

   § 5.1(c). Accordingly, except for the Cybersecurity and Infrastructure Security Agency

   (“CISA”), DHS PRIV does not respond to or process FOIA requests on behalf of the

   operational DHS components.

5. DHS PRIV receives and processes FOIA requests for the following DHS Headquarters

   Offices: Office of the Executive Secretary, Science and Technology Directorate,

   Management Directorate, Office of Strategy, Policy, and Plans, Office of Operations

   Coordination, Office of Partnership and Engagement, Privacy Office, Center for Prevention

   Programs and Partnerships, Office of the General Counsel, Office of Legislative Affairs,

   Office of Public Affairs, Office of the Citizenship and Immigration Services Ombudsman,

   Office of the Immigration Detention Ombudsman, Office of the Secretary, and Office of



                                               2
        Case 1:23-cv-01198-CJN Document 23-8 Filed 08/28/23 Page 3 of 8




   Biometric Identity Management (“OBIM”). Additionally, as indicated in Paragraph 4 above

   DHS PRIV, in accordance with an internal agreement, receives and processes FOIA requests

   for operational component CISA.

6. Through the exercise of my official duties, I am familiar with DHS’s receipt and handling of

   the subject request submitted by Plaintiff and the steps taken to respond to Plaintiff’s request,

   to include a determination that U.S. Citizenship & Immigration Services (“USCIS”), OBIM

   and U.S. Customs and Border Protection (“CBP”) were the appropriate components/offices

   to which the request should be forwarded and referred.

7. The DHS FOIA regulations, available at https://www.dhs.gov/publication/federal-register-

   notice-freedom-information-act-and-privacy-act-procedures-interim-final, clearly set out the

   steps for a FOIA requester to submit a FOIA request to DHS Headquarters Offices as well as

   all DHS components. The DHS FOIA regulations also describe how DHS handles referrals to

   other agencies and to the DHS components.

8. Section 5.1(a)(1) of the DHS FOIA regulations states that “[t]his subpart contains the rules

   that the Department of Homeland Security follows in processing requests for records under

   the Freedom of Information Act.”

9. Section 5.3(a)(2) of the DHS FOIA regulations states that the “Privacy Office will forward

   the request to the component(s) that it determines to be the most likely to maintain the

   records that are sought” and that all referrals are to be handled consistent with subsection

   5.4(d)(3), that is “the component may refer the responsibility for responding to the request or

   portion of the request to the component or agency best able to determine whether to disclose

   the relevant records, or to the agency that created or initially acquired the record as long as

   that agency is subject to the FOIA. Ordinarily, the component or agency that created or



                                                 3
         Case 1:23-cv-01198-CJN Document 23-8 Filed 08/28/23 Page 4 of 8




   initially acquired the record will be presumed to be best able to make the disclosure

   determination. The referring component shall document the referral and maintain a copy of

   the records that it refers.”

                                      DHS PRIV’S RESPONSE

10. Consistent with the requirements of 6 C.F.R. § 5.3(a)(2), DHS PRIV reviewed the Plaintiff’s

   request and determined that USCIS, OBIM, and CBP were the DHS components/offices

   “most likely” to maintain responsive records. On April 6, 2023, DHS PRIV notified Plaintiff

   by letter and by email that Plaintiff’s FOIA request dated March 8, 2023, was forwarded to

   the USCIS and OBIM FOIA Offices for processing and direct response back to requestor.

   On April 24, 2023, DHS PRIV again notified Plaintiff that its FOIA request dated March 8,

   2023, was forwarded to CBP for processing and direct response back to requestor.

11. Plaintiff did not, at any time during the administrative stage of this request, respond or object

   to the above-described referrals, or request that DHS PRIV conduct a search of any other

   DHS components/offices. In other words, DHS did not consider its referral as an adverse

   determination as described in section 5.6(d), which includes “decisions that the requested

   record is exempt, in whole or in part; the request does not reasonably describe the records

   sought; the information requested is not a record subject to the FOIA; the requested record

   does not exist, cannot be located, or has been destroyed; the requested record is not readily

   reproducible in the form or format sought by the requester; … [or] also include denials

   involving fees, including requester categories or fee waiver matters, or denials of requests for

   expedited processing.”

12. On June 13, 2023, DHS PRIV sent a final response letter notifying Plaintiff that the first two

   sections within Plaintiffs March 8, 2023 FOIA request did not fall under DHS PRIV purview.



                                                  4
        Case 1:23-cv-01198-CJN Document 23-8 Filed 08/28/23 Page 5 of 8




   The final DHS June 13, 2023 determination letter cited to DHS PRIV’s previous April 6,

   2023 and April 24, 2023 notifications informing Plaintiff that Sections 1 and 2 of the request

   had been transferred to USCIS, OBIM and CBP for processing and direct response to the

   requestor. The final June 13, 2023 letter also informed Plaintiff that DHS PRIV could neither

   confirm nor deny the existence of records relating to Section 3 of the request. The letter went

   on to explain that “…To the extent records exist, this office does not find a public interest in

   disclosure sufficient to override the subject’s privacy interests. As such, to the extent that

   responsive records would be maintained by DHS Headquarters’ offices on the subject

   individual, this office would deny your request under FOIA Exemption (b)(6), 5 U.S.C.

   552(b)(6), and the Privacy Act of 1974, 5 U.S.C. 552a….”

                                        OBIM’S RESPONSE

13. On April 11, 2023, OBIM sent an acknowledgment that it received Plaintiff’s FOIA request.

   The acknowledgement email provided the Plaintiff with an authorization form, and informed

   Plaintiff of the additional documentation that must be received by the FOIA Office in cases

   of third-party information requests. The required additional documentation included a

   statement from the individual verifying his or her identity and certifying the individual's

   agreement that records concerning him or her may be accessed, analyzed, and released to a

   third party.

14. The acknowledgement email notified Plaintiff that the request as submitted had not been

   perfected, and absent the required documentation, OBIM could not initiate a search of the

   requested information. The acknowledgement email notified Plaintiff that it was given 30

   days from the date of the email to submit the outstanding documentation, to assist with

   perfecting the request.



                                                 5
        Case 1:23-cv-01198-CJN Document 23-8 Filed 08/28/23 Page 6 of 8




15. The acknowledgement email instructed Plaintiff to complete the enclosed authorization form

   and submit an original fingerprint card and/or Alien Registration Number for Prince Henry

   Charles Albert David. The email concluded by informing Plaintiff that if the FOIA Office did

   not hear back from Plaintiff within 30 days, it would assume that Plaintiff was no longer

   interested in the request, and that the case would be administratively closed.

16. On May 11, 2023, the 30-day time-period for response lapsed, after which OBIM determined

   it would administratively close the request.

17. On May 25, 2023, OBIM sent a final response letter notifying Plaintiff that to the extent that

   responsive records would be maintained in IDENT on the subject individual, the office

   would deny the request under FOIA Exemption (b)(6), 5 U.S.C. 552(b)(6), and the Privacy

   Act of 1974, 5 U.S.C. 552a.



      DISCLOSURE OF THE EXISTENCE OR NON-EXISTENCE OF RESPONSIVE
       RECORDS WOULD CAUSE HARM UNDER FOIA EXEMPTIONS (b)(6) and
                                (b)(7)(C)

18. The FOIA exempts from disclosure records related to third parties if release of the

   information could be expected to constitute an unwarranted invasion of personal privacy.

   Specifically, the FOIA provides as follows:

19. Exemption (b)(6) protects “personnel and medical files and similar files the disclosure of

   which would constitute a clearly unwarranted invasion of personal privacy.” 5 U.S.C. §

   552(b)(6).

20. Exemption (b)(7)(C) similarly exempts from disclosure “records or information compiled for

   law enforcement purposes [when disclosure] could reasonably be expected to constitute an

   unwarranted invasion of personal privacy." 5 U.S.C. § 552(b)(7)(C).



                                                  6
        Case 1:23-cv-01198-CJN Document 23-8 Filed 08/28/23 Page 7 of 8




21. When determining whether to withhold information pursuant to Exemption (b)(6) and

   (b)(7)(C), DHS balances the privacy interests of individuals identified in records against any

   “FOIA public interest” in disclosure of that information. In making this analysis, the FOIA

   public interest considered in the balance is limited to information which would shed light on

   the Department’s performance of its mission: to enforce the law and defend the interests of

   the United States according to the law; to ensure public safety against threats foreign and

   domestic; to provide federal leadership in preventing and controlling crime; to seek just

   punishment for those guilty of unlawful behavior; and to ensure fair and impartial

   administration of justice for all Americans.

22. The Plaintiff seeks records related to the Duke of Sussex, a third-party individual, who has

   not consented to the disclosure of his records to Plaintiff.

23. DHS neither confirms nor denies the existence of requested records regarding the Duke of

   Sussex as Plaintiffs have not provided sufficient public interest to outweigh the Duke’s right

   to privacy concerning any potential records about him that may or may not exist.

24. In this case, to identify whether records pertaining the Duke of Sussex exist in the DHS

   Automated Biometric Identification System, IDENT, would convey information about the

   Duke’s immigration status in the United States. The release of such information would be a

   violation of his privacy interests protected by Exemptions (b)(6) and (b)(7)(C) and would in

   itself cause harm. Records in IDENT are compiled by DHS for law enforcement purposes,

   including specific biometric and biographic information collected by CBP in its law

   enforcement mission to secure the United States borders. Acknowledging the existence of

   IDENT records would reveal, for example, whether the Duke of Sussex applied for certain

   immigration benefits or was the subject of any adverse actions. Immigration status



                                                  7
         Case 1:23-cv-01198-CJN Document 23-8 Filed 08/28/23 Page 8 of 8




   implicates significant privacy interests. Confirmation of any adverse action or immigration

   applications would necessarily reveal the precise information that Exemptions (b)(6) and

   (b)(7)(C) shield.

25. In addition, simply identifying whether records regarding any requests for a waiver pursuant

   to Section 212(d)(3) of the Immigration and Nationality Act exist would confirm that the

   Duke of Sussex may have required a waiver before any travel to the United States. The

   release of such information would be a violation of his privacy interests.

26. Plaintiff alleges in its FOIA request that “[i]t is unclear at this juncture whether DHS

   complied with the law, if in admitting Prince Harry, did so without a waiver or any interview

   with CBP…” Merely alleging wrongdoing, however, is insufficient to establish public

   interest; the requester must produce evidence that would warrant a belief by a reasonable

   person that the alleged Government impropriety may have occurred. Plaintiff has failed to

   provide such evidence in this case. As such, Plaintiff has failed to show that public interest

   outweighs the Duke of Sussex’ right to personal privacy.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief. Signed this 25th day of August 2023.

                                                                 Digitally signed by CATRINA
                                               CATRINA M         M PAVLIK KEENAN

                                               PAVLIK KEENAN Date:     2023.08.25 11:38:17
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                                              Catrina M. Pavlik-Keenan
                                              Deputy Chief FOIA Officer
                                              Privacy Office
                                              U.S. Department of Homeland Security




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